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FlLED lN D\STR\CT COURT
McC\ain County. Ok lamm
IN TI-IE DISTRICT COURT OF McCLAIN COUNTY
S'I`ATE OF OKLAHOMA FEB 2 4 2615
CHARLES HOLMES, by Donett Holmes, ) l rk
Personal Representative, and ) Lvnda Bake" C°urt 0 a
Donett Holmes, Individually ) by M_r______________,neputy
)
Plaintif’fs, ) _,_-’
) ease NQ.CQ L§~ 34
vs. ) \ .
) Judge: \) \ \"f)\ Y\
METROPOLITAN PROPERTY AND )
CASUALTY INSURANCE COMPANY, ) JURY TRIAL DEMANDED
) Attorney’s Lien Claimed
Defendants. )
PE'I`ITION FOR BA]] FAITH

 

CI-IARLES HOLMES, deceased, by Donett Holmes, Personal Representative, and Donett
Holmes, individually, by and through her Counsel, LKDLAW, P.C. by Laurence K. Donahoe,
allege and state as follows:

Introduction

l. Charles Holmes , deceased (“Charles”), and Donett Holmes (“Donett”) were
husband and Wife and residents of McClain County Olda.h_oma residing at 1731 S. MaeArthur,
Blanchard, McCla:in County, Oklahoma.

2. The Defendant, Metropolitan Property and Casualty Insurance Company
(“Metropolitan’ ’)` is licensed and authorized to conduct business m the State of Oldahoma.

3. In 2010 Charles and Donett were insureds under a policy of automobile insurance
entered into in MeClain County Oklahoma which policy of insurance was issued by

Metropolitan, policy number 9774649970.

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4. 'I'hroughout the life of the policy Charles and Donett faithfully paid the premiums
as required under the terms of the automobile insurance policy

5. Under the applicable Metropolitan policy Declaration of Coverages, Charles and
Donett had Uninsured Motorist (UM) coverage with a policy limit of $100,000 per person.

6. On December 10, 2010 both Charles and Donett were involved in an automobile
accident

7. Thereaiter Charles and Donett increased the amount of their UM coverage to
$250,000 per person.

8. On April 1 1, 201 l, Charles was in a second accident

9. Charles and Donett had a reasonable expectation under the terms of their policy of
lnsurance with Metropolitan that they would be treated respectfully and fairly and in good faith
and receive the benefit of their automobile insurance contract and the UM benefits for which they
paid their premiurn.

10. For almost two (2) years Charles and Donett Ho]rnes sent copies of their medical
bills and records to Meiropolitan asking Metropolitan to evaluate and adjust their claims.
Charles and Donett also had telephone conversations with Ms Anniece Washington of
Metropolitan with respect to their medical bills, treatment and claims.

11. During those two years at no time did Metropolitan communicate to Charles and
Donett any evaluation of their claims or discuss any possibility of settling their claims.

12. Charles and Donett were referred to Counsel, Laurence K. Donahoe, who was

retained to represent their interests in both accidents

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13. Litigation was filed on Deceniber 5, 2012 in Oklahoma County, Holmes v.
Pollard, case # CJ-2012-7600 . Metropolitan intervened in this case which is still pending

14. Litigation was filed on April lO, 2013 in Oklahonia County, Holines v. Payne and
Metropolitan Property and Casualty Insurance Conipany, as a direct named Defeudant, case # CJ-
2013-5152. Farmers Insurance Group, insurance carrier for Paync evaluated Charles’ claims iii
the second accident and tendered their policy limits of $25,000 on or about May 6, 2013.

15. Subsequently on June 22, 2013 an Offer of Settlenient in the Payne case with 160
pages of supporting documents was transmitted to Ms. Aiiniece Washington at Metropolitan and
to Chris Haiper, attorney for Metropolitan.

16. Metropolitan nor their attorney ever acknowledged receiving the Offer of
Settlement or conveyed any analysis of their assessment of the claims or made any counter offer.

17. For over 3 and ‘/2 years Metropolitan and their attorney communicated nothing
toward their evaluation of the claims or reaching any resolution cf the claims or even discussed
their insured’s claims.

18. Charles Holrnes date of birth is October 5, 1949.

l9. According to the 2013 Actuarial and Mortality Tables, Charles I-Iolmes had a life
expectancy of an additional 21 years.

20. Charles Holmes died on July 17, 2013.

Claims of Bad Faith

21. ”£`he Defendant, Metropolitan Property and Casualty lnsurance Conipany, had a

duty to deal fairly and act in good faith with its insureds, Charles and Donett.

22. The Defendant, Metropolitan Property and Casualty lnsurance Company, acted

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intentionally and with malice and breached its duty to deal fairly and act in good faith with its
insureds in conduct that was life threatening to humans and which was a significant factor in the

death of Charles Holmes.

23. Plaintiffs set forth the following examples as evidence of the intentional and

malicious acts:

a. In Metropolitan’s Answer filed in the Payne case on June 13, 2013, the
Defendant made assertions of aMrInative defenses denying the nature and
extent of Charles’ injuries and damages which to a layman caused Charles
extreme mental anguish

b. Plaintifl`s provided the Defendant a HlPPA Authorization on July 10, 2013
and the Defendant had the capacity to obtain all medical records and
billing from all medical providers to independently examine and calculate
the nature and extent of the Plaintiif’ s inj uries, treatment and costs billed
by the medical providers.

c. At a Mediation conference in the Pollard case on Octo'ber 17, 2014
Metropolitan nor their attorney would not even discuss Charles’ claims.

d. Metropolitan failed to even discuss with Charles or Donett or their
attorney the amount of medical claims and damages for over 36 months

e. On February 12, 2015 Metropolitan’s attorney attempted to force a
settlement that tried to tie separate claims together and force a settlement
for substantially less than the submitted billing warranted

f. Metropolitan failed to give any rational or explanation for offers of
settlement substantially less that policy limits or in relation to documented
medical procedures performed and medical billing provided

Damages
24. Consequences arising from the intentional and malicious acts of Meu‘opolitan to

Charles Holmes were devastating causing mental pain and anguish as evidenced by increased

depression, anxiety, suffering loss of quality of life during the remainder of his life leading to his

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death and resulting loss of consortiurn, pecuniary loss and grief to Donett Holmes, the surviving
spouse for which the Estate of Charles Holmes and Donett Holmes should be fairly and justly
compensated

25. Donett Holmes also has a result of the acts of Metropolitan has suffered

continuing financial losses of Charles Holmes earning capacity as follows:
a. Social Security in the sum of $ 19,391 in 2012
b. Oklahoma Teachers Retirement in the annual sum of $ 19,177 in 2012.
Punitive Damages

26. The acts of Metropolitan are so egregious and in such disregard for the rights of
their own insureds and the Metropolitan’s lack of attempt to reach any resolution of sums due
and owing to their insureds for benefits under the policy of insurance for which premiums were
paid caused a loss of human life and Metropolitan should be required to pay damages in a
punitive sum without regard to any statutory limitations on the jury.

WI~IEREFORE, based on the reasons as set forth above, Plaintiff respectfully requests
that this Court grant judgment to Charles and Donett against Metropolitan for damages in excess
of $10,000 plus punitive damages as a jury may determine and for such other and timber relief as
may be just and proper.

Respectfully Submitted,
LKDLAW, P.C.

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